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CONNIE VANOVER,

Plaintiff,
v. Cv. No. 03-2638-Ma
AMERICAN AIIRLINESIr INC.,

Defendant.

J'UDGMENT
Decision_ by Court. This action came for consideration

before the Court. The issues have been duly considered and a

decision has been rendered.

IT IS ORDERED AND ADJUDGED that this action is dismissed
without prejudice in accordance with the Order of Dismissal,
docketed June 6, 2005. Each party shall bear its own costs and
attorney’s fees.

APPROW %%/hn/

SAMUEL H. MAYS, JR.
UNITED sTATES DISTRICT JUDGE ROBERT R.D\THOL\°

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This notice confirms a copy of the document docketed as number 31 in
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Honorable Samuel Mays
US DISTRICT COURT

